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                     UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


PAN OCEAN CO. LTD.,                             '
                                                '
        Plaintiff,                              '
                                                '
                                                '
v.                                              '   Civil Action No. SA-18-CV-739-XR
                                                '
CLEARLAKE SHIPPING PTE LTD.,                    '
                                                '
        Defendant,                              '
                                                '
                                                '
                                                '


               ORDER TO DEPOSIT MONIES INTO COURT’S REGISTRY

       On this date, the Court considered the status of this case. On October 18, 2018, the Court

granted Plaintiff Pan Ocean Co. Ltd.’s and Garnishee Valero Marketing and Supply Company’s

Agreed Motion to Deposit Funds into the Registry of the Court. Docket no. 16. The Clerk,

United States District Court, has received from Garnishee Valero Marketing and Supply

Company and deposited into the Court’s registry a check in the exact amount of $1,588,053.76.

       IT IS FURTHER ORDERED that the Clerk, United States District Court, as soon as the

business of the office allows, shall deposit these monies into the Court Registry Investment

System (CRIS) where they shall remain until further order of the Court.

       It is so ORDERED.

       SIGNED this 20th day of November, 2018.



                                           _________________________________
                                           XAVIER RODRIGUEZ
                                           UNITED STATES DISTRICT JUDGE
